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           In the United States Court of Federal Claims
                                   No. 98-488C
                              Filed: March 31, 2006
                              TO BE PUBLISHED
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SACRAMENTO MUNICIPAL UTILITY *
DISTRICT,                            *
                                     *
      Plaintiff,                     *
                                     *
v.                                   *
                                     *
THE UNITED STATES,                   *
                                     *
      Defendant.                     *
                                     *
*************************************

             ORDER REQUESTING SUPPLEMENTAL EXPERT TESTIMONY

         Consistent with the March 31, 2006 Memorandum Opinion and Order issued, Plaintiff is
ordered to submit Supplemental Direct Testimony from Mr. Brian P. Brinig, Brinig & Company,
Inc., in the format of five tables and any supporting explanation:

       1.      Table A – a Summary of Costs by the categories listed in PX 1000 ¶ 20,1 for each of
               the following periods: January 1, 1992 through May 14, 1997; May 15, 1997 through
               May 31, 1997; June 1, 1997 through October 31, 1999; and November 1, 1999
               through December 31, 2003.

       2.      Table B – including cost data from Table A, minus any costs attributable to the
               “dual-purpose” transportable features of the dry storage system.

       3.      Table C – including cost data from Table B, minus any costs attributable to a
               contract, lease, or other legal obligations executed by Plaintiff prior to May 15, 1997.

       4.      Table D – including cost data from Table C, minus any costs attributable to one-
               twenty-second of the cost to construct the ISFSI.

       5.      Table E – including cost data from Table D, minus Packaging Technologies and
               Vectra charges attributable to on-site drop testing.


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         The “Labor” category may include costs attributable to the 16 employees who charged the
majority of their time to the “dual-purpose” dry storage project. An “Indirect Labor” category should
not be included.
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        The court will convene a telephone conference on April 10, 2006 at 2:00 p.m. E.D.T. to
discuss implementation of this Order, including the Government’s oversight and verification of the
data reported in the Tables.

       IT IS SO ORDERED.


                                                    s/SUSAN G. BRADEN
                                                    Judge




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